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2
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5                                 UNITED STATES DISTRICT COURT

6
                                   MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION
7
                                                     §
8       UNITED STATES OF AMERICA, EX                 §
        REL., BARBARA BERNIER,                       §
9                                                    §   Case No.: 6:16-cv-00970-RBD-TBS
                     Plaintiff,                      §
10                                                   §
              vs.                                    §   UNOPPOSED MOTION FOR
11
                                                     §   EXTENSION OF TIME TO RESPOND
        INFILAW CORPORATION;                         §   TO DEFENDANTS’ MOTION TO
12
        CHARLOTTE SCHOOL OF LAW, LLC,                §   DISMISS
13                                                   §
                     Defendants.                     §
14                                                   §
                                                     §
15                                                   §

16             Relator, BARBARA BERNIER, by and through her undersigned counsel, hereby
17
        files this Unopposed Motion for Extension of Time to Respond to Defendants’, INFILAW
18
        CORPORATION and CHARLOTTE SCHOOL OF LAW, LLC, Motion to Dismiss
19
        Relator’s Amended Complaint and supporting Memorandum of Law (“Motion to
20
        Dismiss”) (Doc. 53), up through and including December 22, 2017, and in support thereof,
21
        states as follows:
22
               1.      On December 4, 2017, Defendants filed their Motion to Dismiss with the
23

24      Court, which sets the responsive deadline as December 18, 2017, pursuant to M.D. Fla. R.

25      3.01(b) of the Local Rules for the Middle District of Florida.



         UNOPPOSED MOTION FOR EXTENSION- 1                                     WATSON LLP
         Case No.: 6:16-cv-00970-RBD-TBS                                  189 S. Orange Avenue, Suite 810
                                                                                 Orlando, FL 32801
                                                                     Tel: (407) 377-6634 / Fax: (407) 377-6688
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2
                2.      On December 11, 2017, Relator’s Counsel conferred with Defendants’

3       counsel in good faith to request a four (4) day extension to respond to Defendants’ Motion

4       to Dismiss.
5
                3.      Defendants are unopposed to Relator’s request for a four (4) day extension
6
        to respond to Defendants’ Motion to Dismiss.
7

8
                4.      No party will be prejudiced by this brief extension.

9                CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 3.01(g)

10              The undersigned hereby certifies that she has conferred with counsel for Defendants

11      on December 11, 2017, regarding the request sought in the instant motion and that both
12
        parties agree to this relief sought herein.
13
                WHEREFORE, Relator, BARBARA BERNIER, respectfully requests that this
14
        Court enter an order extending the time to respond to Defendants’, INFILAW
15
        CORPORATION and CHARLOTTE SCHOOL OF LAW, LLC, Motion to Dismiss
16
        Relator’s Amended Complaint and supporting Memorandum of Law, through December
17
        22, 2017.
18
        DATED on December 13, 2017
19

20
                                                      Respectfully submitted,
21
                                                      /s/ Leia V. Leitner
22                                                    Coleman W. Watson, Esq.
                                                      Florida Bar. No. 0087288
23                                                    California Bar No. 266015
                                                      Georgia Bar No. 317133
24                                                    New York Bar No. 4850004
                                                      Email: coleman@watsonllp.com
25




         UNOPPOSED MOTION FOR EXTENSION- 2                                      WATSON LLP
         Case No.: 6:16-cv-00970-RBD-TBS                                   189 S. Orange Avenue, Suite 810
                                                                                  Orlando, FL 32801
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11                                          Attorneys for Relator,
                                            BARBARA BERNIER
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        UNOPPOSED MOTION FOR EXTENSION- 3                            WATSON LLP
        Case No.: 6:16-cv-00970-RBD-TBS                         189 S. Orange Avenue, Suite 810
                                                                       Orlando, FL 32801
                                                           Tel: (407) 377-6634 / Fax: (407) 377-6688
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2
                                   CERTIFICATE OF SERVICE

3               I HEREBY CERTIFY that on December 13, 2017, pursuant to Fed. R. Civ. P. 5, I
        electronically filed the foregoing with the Clerk of Court by using the CM/ECF system,
4       which will send an electronic notice to the following lead counsel of record in this
        proceeding:
5
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16

17                                                /s/ Leia V. Leitner
                                                  Leia V. Leitner, Esq.
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         UNOPPOSED MOTION FOR EXTENSION- 4                                 WATSON LLP
         Case No.: 6:16-cv-00970-RBD-TBS                              189 S. Orange Avenue, Suite 810
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